                                  Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 1 of 50




                                                      FORTNITE
                                                            Mobile




                                        Mobile Business Update/Deep Dive




                                                                                                            Exhibit
                                                                                                            0X521
                                                                                                      EXHIBIT 10521
HIGHLY CONFIDENTIAL   -   ATTORNEYS' EYES ONLY                                                        EPIC_GOOGLE_05084996

                                                                                                      EXHIBIT 10521-001
                                   Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 2 of 50




Mobile Team        Epic


    Multiple teams across development and publishing are responsible for maintaining or growing
    mobile DAU


     Product Management                                 OEM + Android                       Product Marketing +
                                                         Partnerships                        Apple Partnership
    Team Leads:                                   Team Leads:                             Team Leads:
    • Brian C (Director of Product)               .   Hans S (Sr Marketing Manager)        • Alec S (Marketing Manager)
    • Jocelyn L(Sr Producer- Game)
    • Jay C (Producer- Tech)

                                                  Initiatives:                            Initiatives:
    Initiatives:                                  • Marketing of Epic Games App            • Orchestrate GTM plans on
    • Lift early retention via Guided             • Direct Carrier Billing                   mobile
      Tutorial and Smart Tips                     • OEM & Carrier Distribution             • Partner with Apple on acquisition
    • Speed Up Patching Process                   • Android Portal Optimization              and reacquisition co-marketing
    • Increase count of compatible FN             • Partner Marketing Opportunities          opportunities ex. featuring,
                                                                                                           -




      devices on Android                                                                     CRM, UA
    • Mobile Optimized Ul/UX                                                               • Internal Apple escalation for
    • Improved Mobile Analytics                                                              patch delays and other dev
                                                                                             issues




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                                                                                                               EXHIBIT 10521-002
                                          Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 3 of 50




                                 1 1 11
iVIobjIe Background


 • Current Product & Player Context:
    o Mobile drives new accounts:
         • 38% of daily new accounts in FN came in on mobile (2019 Average)                      -




    o Mobile retention is low compared to other platforms:
         • iOS (6% D30) and Android (4% D30) run below PS4 (16%), XBI (11%), SW (21%)
    o Existing console players are more likely to cross-play:
         • 40% of mobile players have also played on non-mobile platforms
         • Approximately 15% of mobile players go from mobile first to console

 • iOS: Launched March 16, 2018
    o 88M Downloads, 67M Accounts New to Fortnite, $631M in Revenue


 • Android: Launched August 13, 2018
    o Epic Games App: 80M downloads of EGA
    o Fortnite: 21M Downloads, 13M Accounts New to Fortnite, $47M in Revenue




 All metrics as of 2/18/20. All revenue figures are measured in gross revenue




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                                                                                                              EXHIBIT 10521-003
                                  Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 4 of 50




    Speaker Notes for Slide 3


    Comp data:
    https:IIdocs.qooqIecomIspreadsheetsIdI1 Hi qPEiMd6thqS4LEbyFDCPRU IGyptoQNNfQWZcZq68kIedit?usp=sharinq
    Time to Game:
    https:IIdocs.qooqle.comlspreadsheetsldli OwmMSqxcqt8qbYOwJ6zvG6YVa9S96Bi 1C23m3WYIFY/edit#qid=O

    Tested on All games were tested as fresh installs on 12/11/2019 on an iPhone X over the EPIC-SECURE network in CRIV.




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                                                                                                                           EXHIBIT 10521-004
                                   Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 5 of 50




Mobile Background (cont.)


 .   US accounts for 42% of Mobile DAU and 56% of Mobile Revenue

 • No other individual country accounts for more than 10% of either DAU or revenue
    o UK: 6% DAU, 3% Revenue
    o Japan: 4% DAU, 4% Revenue
    o Germany: 3% of DAU, 2% of Revenue


 • Outside of Japan, FN has almost no penetration in Asia
    o South Korea: 0.1% of DAU, 0.1% of Revenue
    o No GAFF approval in China

                                                                                       Avg Daily Revenue by Country
                                                                 $900,000.00
                                                                 5303,000.00
                                                                 5700.000.00
                                                                 5600,000.00
                                                                 $500,000.00
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                                  Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 6 of 50




    Speaker Notes for Slide 4


    Comp data:
    https:IIdocs.qooqIecomIspreadsheetsIdI1 Hi qPEiMd6thqS4LEbyFDCPRU IGyptoQNNfQWZcZq68kIedit?usp=sharinq
    Time to Game:
    https:IIdocs.qooqle.comlspreadsheetsldli OwmMSqxcqt8qbYOwJ6zvG6YVa9S96Bi 1C23m3WYIFY/edit#qid=O

    Tested on All games were tested as fresh installs on 12/11/2019 on an iPhone X over the EPIC-SECURE network in CRIV.




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                                                                                                                           EXHIBIT 10521-006
                                                                                 Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 7 of 50




  •           16 steps from Epic Games website to Fortnite Mobile Play screen (20 steps for new device, first time install, 4
              additional OS level steps)
  •           6.57GB Fortnite client package size
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                                                                                       Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 8 of 50




rGl                           Pl ay I
                                    nstall Flow (Call of Duty Mobile)


             •                7steps from Google Play Store page to CoD Mobile sign-in screen
             •                1.38GB package download size



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                Call of Duty': Mobile                          CIl of Duty: Mobile

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                                                                                                                                                                 start playing.




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                                                                                                                                                           EXHIBIT 10521-008
                                   Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 9 of 50




Fortnite by Platform: Retention and Player Spend

Mobile retention is similar to PC. Android CRPI is lowest for all platforms and CPI is negative at Dl 80.




Platform          Dl            fl D7             D30   '7'   DI 2o 7ARPDAU 'ARPPU 7CRPI (D180)                           CPI
iOS              41%                                          3%        $0.30        $19.70    W       $3.59             $2.98
Android          35%                                                                 $20.10            $1.13             $2.78
PC                                                            4%        $0.33                          $11.62            $3.02
P54              49%               26%            16%         13%       $0.42        $18.94
XBI              44%               21%            11%         9%        $0.51                          $25.43           $20.00    I
Switch                                                                  $0.39        $19.38            $15.10      L N/A




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                                                                                                                EXHIBIT 10521-009
                                  Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 10 of 50




    Speaker Notes for Slide 7


    Raw Data:
    https://docs.google.com/spreadsheets/d/1 XrxOAvx7Wh bgOlq h5sDBof_goAPxOZOhZ4F_vYo2XDO/edit?usp=sharing




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                                                                                                       EXHIBIT 10521-010
                                            Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 11 of 50




2020 Mobile Strike Team Initiatives Goals and Update

   Initiative                    Goals                                                                                        Target Date           Owner         j         Staffing

                                 Increase D14 to D30 retention by 200 basis points:
                                                                                                                                                                    Needs strike team similar
                                 • Reduce Hitches/mm on lOS/Android to less than 5hitches/minute
                                                                                                                                                                    to XCode effort 8-10
   1. Optimize Mobile            • Reduce Missed V-Sync to <1%
                                                                                                                                    N/A            Jay Chaney       engineers from
   Performance                   • Reduce total install/patching time by 20% on lOS and Android
                                                                                                                                                                    iOS/Rendering/TechArt/
                                 • Optimize memory use on 3GB devices to support Xcode 11 transition           on track for
                                                                                                                                                                    Game Content
                                                                                                           -




                                   3/31


                                 Increase direct-to-player reach by 40+ Million players
                                                                                                                                                                     Backfilling 2contractors
                                 • Push note tool currently in User Acceptance Testing due live by end of week.
                                                                                                                                                                     Need headcount for I
                                                                                         -




   2. Push Notifications         • Targeting and Testing capability in place                                                        Live           Shari Rossan
                                                                                                                                                                      analyst/OS, IProject
                                 • FN campaigns will begin as early as Friday
                                                                                                                                                                      Manager
                                 • Spyjinx is working to connect to the tool timing still being spec'd.
                                                                            -




                                 Increase mobile retention by 300 basis points on Dl and 200 basis points on D7
                                 • Guided Tutorial (Live)
                                                                                                                                    S14
   3. Improve Player             • Mobile HUD Layout Tool (13.30-13.40)                                                                              Jocelyn
                                                                                                                              (Some initiatives                     Fully Staffed (Frima)
   Experience in Game            • Reduce package size (13.40-S14)                                                                                  LeFrancois
                                                                                                                               are already live)
                                 • Lobby UI Refactor with 3rd Party Agency (S14)
                                 • Decreasing time to get in game (S14)- Analysis ongoing


   4. Increase Compatible        Increase addressable market share by 200 million devices:
                                                                                                                                 Live 2/20          Brian Chu        Fully Staffed
   Android Devices               • Add device graylist to allow more Android devices to play Fortnite




   5. Improve Funnel             Increase Android installs by 20%
                                                                                                                                  Live 3/3          Brian Chu        Fully Staffed
   Conversion                    • Test of different web and button flows to improve install conversion of web traffic




                                 • Pre-Install Opportunity: —260 million Android devices                                                           Hans Stolfus
                                 • Direct Carrier Billing IPost-install Opportunity: 121 million Android devices                OEM: 5/22          (Android) &
   6. Mobile Partnerships                                                                                                                                            Fully staffed
                                 • Negotiate extension to keep Fortnite playable on 3GB devices completed (19% of
                                                                                                    -                            OCB: 4/7          Alec Shobin
                                   iOS revenue secured)                                                                                              (Apple)
   *   All   I   f   f   +                  ff f    I    .ILJ   +




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                                                                                                                                                                  EXHIBIT 10521-011
                                  Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 12 of 50




    Speaker Notes for Slide 8


    12.20: 3/17
    12.30: 3/31




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                                                                                                       EXHIBIT 10521-012
                                      Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 13 of 50




I. Optimize Mobile Performance

  Key Initiatives

    nitiative               Details _________________________KPI Impact                                    Status                   Staffing/Next Steps/Needs


   Reduce Hitches           Optimizing Game Thread and Render           Reduce Hitches/min on              Unscheduled due to       Unstaffed
                            Thread that bottleneck CPU as well as       lOS/Android to less than 5         lack of resources        Needs strike team similar to XCode
   and Missed V-
                            additional render related optimizations     hitches/minute                                              effort 8-10 engineers from
   Syncs                                                                Reduce Missed V-Sync to <1%                                 iOS/Rendering/TechArt/Game Content



   Prioritized I            Change caching priority of PSOs to          Reduce install time by 3 minutes   Prioritized PSO          Unstaffed
                            reduce time player spends installing        (-20% overall reduction)           released on 2/20.        Needs Idedicated iOS engineer for
   Selective PSO
                            game.                                                                          Selective PSO            —2 weeks with support from
   Cache                                                                                                   unscheduled              networking engineer


   Pre-Patching             Begin downloading updates when a new        Reduce download time by 20%        In Tech Review,          Unstaffed
                            patch is available without user input.      (-3 mm) on updates.                unstaffed in favor of    Needs Idedicated iOS patching
                                                                                                           Xcode and Patching       engineerwith support from Engine iOS
                                                                                                           analytics                engineering for 2+ months.
                                                                                                           improvements


   XCode 11                 Ensure that we comply with Apple            Prevent memory crashes on          Scheduled for 3/31       Fully staffed
                            timelines to migrate to XCode 11 &          devices that equal —19% of all                              8-10 engineers from
   Transition
                            retain stability on key devices (original   lOS revenue                                                 iOS/Rendering/TechArt/Game Content
                            deadline of April 1extended to Sept    -                                                                Ramping down over the next 2weeks
                            team still attempting 12.30 regardless)                                                                 Tradeoffs- Perf, S12 Finale, S13 Map


   Patching                 Adding stats to allow us to better          Reduce response time of            Released on 2/20.        Re-staffed as of 3/17 with IiOS
                            understand total patch times and assess     LiveOps to patching issues         Blocked due to bugs in   engineer to resolve blocking bugs
   Anal tics
                            patching issues.                            during release days.               tracking.
   Improvements




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                                                                                                                                               EXHIBIT 10521-013
                                     Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 14 of 50




2.
 -Push Notifications                                                                                 I




 Initiative                Details                                                    KPl Impact                              Status
                                                                                      (Baselining % impact during first 6
                                                                                      wks)


 Event Support             Utilize game content releases and events to create         Increase sessions                       Starts 3/20   -   ongoing
                           sustained engagement loops.


 Battle Pass               Trigger messaging to BP players as they progress to        Extend weekend play to additional       Starts 3/23   -   ongoing
 Level Up                  highlight approaching milestone unlocks,                   sessions.


 Battle Pass               Trigger messaging to active non-BP players to highlight    Increase BP conversion                  Starts 3/25   -   ongoing
 Conversion                milestone benefits of upgraded pass. Includes "Last
                           Chance" notifications at end of season.


 Item Shop                 Utilize store content to create sustained engagement       Increase sessions                       Starts 3/27   -   ongoing
                           loops.                                                     Increase spend


 Season Migration          Prepare players for end of season events   -   including   Increase season start audience          Starts 4/24   -   ongoing
                           calendar setting, prompting for updating game pre-event    Increase event participation
                           and event start notifications.                             Decrease weight on servers at event.


                           Continued efforts to migrate players to current season     Re-engage lapsed players.
                           continue ongoing.


 Emergency                 Support player outreach as needed to mitigate              Decreased churn                         As needed starting 3/20
 Mitigation                gameplay or server issues.




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                                                                                                                             EXHIBIT 10521-014
                                    Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 15 of 50




     We have scheduled anumber of initiatives to improve mobile usability and
     retention


In Development                                                                  Guided Tutorial


 •   New Item Pickup System (Target: 3/17)
 •   Gameplay Guided Tutorial System (Target: 4/30)
 •   Updated HUD Layout Tool (Target: 4/30)

On Roadmap for Future Development

 •   Metagame Guided Tutorial System (Target: 5/12)
 •   Guided Battle Royale Mode (Target: 5/26)
 •   Control Improvements (Default Auto Open Doors/Auto
     Build, etc.) (Date TBD)
 •   Lobby U Refactor 3rd party agency (Date TBD)
                                -




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                                                                                                         EXHIBIT 10521-015
                                        Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 16 of 50




r4:Increase CompatibIAndroid Devices


     •    To partially close the addressable installed base gap between FN Android and competitors, we are
          adding a"gray list" of devices that are not officially supported but can play Fortnite.
     •    Initial "gray list" release on 2/20 has resulted in a39% increase in Android installs over the pre-gray
          list average (+6K installs/day)


                                                                                               Total Android Devices


                                FortniteMobiIeV Call of Duty'411 F           PUBG
                                                Mobile                       Mobile


                                                                                                                       Incremental COD
                               Android 8.0+, 64 Bit,
                                                       Android 5.0+, 2GB                             2.1413            Mobile and PUBG
                                3GB RAM Adreno
           Android Mm-                     ,            RAM (Unofficially:    Android 5.0+,                            Mobile compatible
                                 530+, Mali G71 -
           Spec                                        Snapdragon 625+,        2GB RAM                                 devices
                                 MP2O, Mali G72
                                                       Adreno 506+ GPU)
                                        MP12+




                                                                                                                       Potential FN
           Estimated                                                                                 200M              compatible devices
           WW Device              260M Devices            2.613 Devices       2.613 Devices
           Coverage
                                                                                                     260M              Current FN
                                                                                                                       compatible devices
           Source: IDC Mobile Tracker




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                                                                                                                       EXHIBIT 10521-016
                                         Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 17 of 50




5. Improve Funnel Conversion


    Install Funnel on Web suffers from drop-offs from possible side loading friction and high mm-
    spec check on Android

      Android Funnel drop-off

     Clicked Download                       Opened Epic           Passed FN Mm              Party Hub               FN Installed
          on Web                             Games App             Spec Check                Installed




         Dnw,lod file?



                         o




                                  37% drop-             40% drop-                2% drop-                6% drop-
                                     off                   off                     off                     off


   Key Initiatives for 2020
     • Improve tracking of install funnel on web
     • Enable graylist devices to install Fortnite on Galaxy Store
     • Optimize web flow to reduce drop-off points




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                                                                                                                     EXHIBIT 10521-017
                                   Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 18 of 50




6. Mobile Partnerships: Android & Apple

Strategic partnerships on Android help supplement acquisition as aresult of sideloading and min spec
challenges, while Apple focuses on amplifying key beats and continuing to support existing devices


          Android Acquisition                        Android Expansion &                            Apple Publishing
                                                            Monetization
    Increase Epic Games app availability                                                      Distribution
    and improve install flow w/ OEM                                                            •   Negotiate exceptions and support
                                                  Add Carrier Partnerships
    partners                                                                                       that allow Fortnite to continue
                                                   •   Direct Carrier Billing pilot program
      •    Test launching with OnePlus                                                             serving existing iOS players (iOS
                                                       currently scheduled to launch April
           May 2020                                                                                Dec Rev: 47% 2GB devices, 19%
                                                       2020 with Fortumo as official
      •    Background install on all eligible                                                      select 3GB devices)
                                                       Merchant of Record
           devices in addition to pre-installs
                                                         o Carrier Billing at 95/5 R/S =
           on new flagships, optimized                                                        Co-Marketing
                                                            Co-Marketing rights /Fortnite
           install flow removing prohibitive                                                    • Drive re/acquisition by amplifying
                                                             IP usage
           prompts (Unknown Sources)                                                               key beats (ex: Season launch,
                                                        o    Post-installs /Software
           Pre-install Opportunity: -260                                                           RMTs, IP integrations, new mobile
                                                            updates = In-game content +
           million Android devices                                                                 features)
                                                            discounted currency
                                                            promotions
    Establish additional strategic                                                             •   Promote regional initiatives to
    partnerships                                                                                   drive engagement (ex: Carnaval,
                                                   •   Launch partners include
      •    Current coverage with Samsung,                                                          Ramadan)
                                                       Hutchison, Telefonica & Verizon.
           Huawei, Sony, LG: 84.8%
                                                       Estimated post-install opportunity
      •    Add Xiaomi, OnePlus, Vivo,
                                                       -121 million Android devices
           Lenovo and Oppo for -95%.




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                                                                                                                   EXHIBIT 10521-018
                                  Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 19 of 50




                                                       APPENDIX




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                                                                                                       EXHIBIT 10521-019
                                            Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 20 of 50




2020 Mobile Strike Team Initiatives Goals and Update



  Initiative                       Goals                                                                                                   Target      Initiative
                                                                                                                                            Date        Status

                                   Increase D14 to D30 retention by 200 basis points:
                                   • Reduce Hitches/mm on lOS/Android to less than 5 hitches/minute
  1. Optimize Mobile
                                   • Reduce Missed V-Sync to <1%                                                                              N/A
  Performance
                                   • Reduce total install/patching time by 20% on lOS and Android
                                   • Optimize memory use on 3GB devices to support Xcode 11 transition       -   on track for 3/31

                                   Increase mobile retention by 300 basis points on Dl and 200 basis points on D7
                                   • Guided Tutorial (Live)                                                                                 Target:
  2. Improve UI Interface          • Additional Metagame Tutorials (13.0)                                                                   4/30 and
                                   • Lobby UI Refactor with 3rd Party Agency (14.0+)                                                          later
                                   • Mobile HUD Layout Tool (13.0)

  3. Increase Compatible           Increase addressable market share by 200 million devices:
                                                                                                                                            Live 3/3
  Android Devices                  • Add device graylist to allow more Android devices to play Fortnite




  4. Improve Funnel                Increase Android installs by 20%
                                                                                                                                            Live 3/3
  Conversion                       • Test of different web and button flows to improve install conversion of web traffic




                                   • Pre-install Opportunity: —260 million Android devices
                                                                                                                                           OEM 5/22
  5. Mobile Partnerships           • Direct Carrier Billing /Post-install Opportunity: 121 million Android devices
                                                                                                                                            DCB 4/7
                                   • Negotiate extension to keep Fortnite playable on 3GB devices completed (19% of iOS revenue secured)
                                                                                                     -




  *   In Progress   Blocked




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                                                                                                                                            EXHIBIT 10521-020
                                  Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 21 of 50




    Speaker Notes for Slide 16


    12.20: 3/17
    12.30: 3/31




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                                                                                                       EXHIBIT 10521-021
                                   Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 22 of 50




2020 Mobile Revenue and Marketing Forecast


                                              T
     2020 Revenue Forecast                         2019           2020             +1-           2020 YTD      Vs. Forecast

     iOS                                           $254M         $183M            -28%             $29M

     Android                                       $25M           $26M            +4%              $4M

     Total Mobile                                  $279M         $209M            -25%             $33M

     Total Revenue Forecast                       $3,705M       $3,072M           -17%            $484M            +9%


     % of Total Revenue                             8%             7%             N/A               7%              N/A


     2020 Marketing Budget Forecast                2019           2020             +1-           2020 YTD      Vs. Forecast


     iOS                                           $36M           $22M            -41%            $702K

     Android                                       $3.6M         $3.1M            -14%            $258K

     Total Mobile                                 $39.6M         $25.1M          -36.6%           $960K

     Total Marketing Budget                        $529M         $309M            -42%             $14M


     % of Total Marketing Budget                    7%             8%             N/A              6.8%             N/A




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                                                                                                            EXHIBIT 10521-022
                                  Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 23 of 50




    Speaker Notes for Slide 17


    Link: https:IIdocs.qooqle.comlpresentationldll niqqPsw8yKTETKwdQ6ICsC877M8-JLqKWp3-
    InKrGo/edit#slide=id .q7062b1 8754422

    Link: https://docs.qooqle.com/spreadsheets/d/1-faoxaHOfay4sIqUyBwJtQhNJV7iQXxO 1aYWyUuO2kA/edit#qid=O




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                                                                                                       EXHIBIT 10521-023
                                   Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 24 of 50




Optimize Mobile Performance


Download and Patching Process remains achallenge on mobile due to Fortnite Download Size relative to competitors




                                                              Fortnite        PUBG        COD: Mobile     Key Insights:
         Initial IPA Download Size                             199MB          2.4GB            1.8GB
                                                                                                           • Competitor IPAs are substantially
         Initial IPA Download Time'                              22s         3m 50s              3m          bigger, reducing the size of
                                                                                                             additional downloads after players
         Final Download Size                                   8.23GB        2.53GB           1.83GB         get in game

         First Load/Patch Time'                               14m 24s           6s               33s       • FN's final download size is much
                                                                                                             bigger, causing first load to take
         Days Between Patch: Last 90 Days 2                      7.5             9               15          longer than any download step of
                                                                                                             any competitor
         Sign In Time 1'
                       4                                         22s 3          lOs              5s


         1: All games were tested once as fresh installs on 12/11/2019 on iPhone X over the EPIC-SECURE
         network in CR/V.
         2: COD: Mobile was released 10/1.
         3: Im 30s including BP video for FTUE
         4: Does not include 'optimization' step.




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                                                                                                                           EXHIBIT 10521-024
                                        Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 25 of 50




2020 Mobile Strike Team Initiatives Overview

  Initiative               Initiative        Upcoming Work                                        Risks                                                Goals
                           Health        -




                                             • Improved patching analytics                        • Limited engineering resources prevent us from      • Reduces Hitches/min on
  Optimize Mobile
                                             • Prioritized Pipeline State Object Caching            making aheadway on high impact work                  lOS/Android to less than 5
  Performance                                • Pre-patching updates when available                • Multiple high priority SH randomize team and       • Reduce Missed V-Sync to <1%
                                              without player initiated actions                     delay work currently in flight                      • Reduce total install/patching time
                                             • In-Game Performance Improvements                                                                          by 20% on lOS and Android
                                             • Add opt out! opt in flow for High-Res MIPs                                                              • Increase D14 to 030 retention by
                                                                                                                                                        200 basis points


                                             • Enhancements to Guided Tutorial for Mobile         • UI work often gets deprioritized due to higher     • Increase mobile retentionby 300
  Improve Player
                                             • Front End Tutorial for Mobile                        priority work                                        basis points on 01 and 200 basis
  Experience in                              • Build Custom HUD Layout Tool for Mobile            • No dedicated UI resources to assist with design      points on 07
  Game                                       • Mobile Centric UI/UX optimizations


                                             • Set up "gray list" of devices that will
                                                                                     be           • Loss of lOS 2GB memory entitlement would           • Increase addressable market
  Increasing
                                               allowed to install FN even if they are not          cause us to lose —50% of lOS device                  share by 150 million devices
  Compatible                                   officially supported                                compatibility
  Android Devices                                                                                 • Limited opportunities to reduce mm-spec further
                                                                                                   without significantly degrading game performance

                                             • Improve tracking of install funnel on web          • Funnel data for Samsung flow has been              • End to end tracking of installs from
  Increase Funnel
                                             • Enable graylist devices to install   Fortnite on    unreliable. Until we can fully resolve this issue    web traffic through Samsung and
  Conversion                                  Galaxy Store                                         Samsung funnel data cannot be relied on.              Epic install flow.
                                             • Optimize web flow to reduce drop-off points                                                             • Increase Android installs by 50%


                                             • Launch optimized install flow and new              • 0ev work by EGS & Installer team not prioritized   • DCB Opportunity (total Android
  Mobile
                                              distribution mechanic with OnePlus on 4/15           above other tasks                                     users on Hutch, Telefonica or
  Partnerships                               • Once OP test is complete, measure results          • Potential DCB partners have required financial      Verizon networks in pilot markets):
                                              and package installation work to be                  revenue information to proceed with required          121 million
                                              implemented by all other partners                    commercial terms, which Epic can't provide          • Pre/post-install Opportunity:
                                             • Launch pilot Carrier Billing program with                                                                (total supported Android devices
                                              Hutch and Telefonica in select EU markets                                                                 currently in use per FOTA updates
                                             • Apple GDC meeting on reacquisition tactics                                                               from existing OEM partners): —250
                                              and competitive data                                                                                       million




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                                                                                                                                                                 EXHIBIT 10521-025
                                              Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 26 of 50




Mobile Tech and Feature Roadmap


       Initiative                                        Details                                                      KPI Impact                                                  Status

                                                         Change caching priority of PSOs to reduce time player        Reduce install time by 2 minutes (-30% overall reduction)   Scheduled for
       Prioritized/Selective PSO Cache
                                                         spends installing game.                                                                                                  12.10



                                                         Ensure that we comply with Apple timelines to migrate to     Prevent memory crashes on devices that equal -19% of        Scheduled for
       XCode 11 Transition
                                                         XCode 11 & retain stability on key devices                   all 105 revenue                                             12.20



                                                         Adding stats to allow us to better understand total patch    Reduce response time of LiveOps to patching issues          Released with
       Patching Analytics Improvements
                                                         times and assess patching issues.                            during release days.                                        12.0




                                                         Begin downloading updates when a new patch is                Reduce download time by 25% on updates.                     In Tech Review
       Pre-Patching
                                                         available without user input.



                                                         Continue to enhance guided tutorial to improve               Improve DI retention by 200 basis points                    In Des ign *
       Guided Tutorial Improvements
                                                         onboarding experience and DI-D7 Retention                    Improve D7 retention by 100 basis points




                                                         Add to existing Smart Tips system to improve player          Improve D14 retention by 150 basis points                   In Des i
                                                                                                                                                                                         gn *
       Smart Tips Updates
                                                         comprehension of gameplay mechanics                          Improve D30 retention by 100 basis points



                                                         New game mode that extends beyond tutorial and               Improve DI retention by by 150 basis points                 In Des i
                                                                                                                                                                                         gn *
       Guided BR Mode
                                                         teaches BR specific mechanics to new players                 Improve D7 retention by 100 basis points
                                                                                                                      Increase BR games played/day by 5%



                                                         New onboarding game mode on mobile similar to COD:           Improve DI retention by by 100 basis points                 In Des i
                                                                                                                                                                                         gn *
       4v4 Bots
                                                         Mobile that allows players to familiarize themselves with    Improve D7 retention by 50 basis points
                                                         gameplay is limited scale setting                            Improve player kills/game ratio by 10%



                                                         A suite of UX/UI improvements based on User Research         Improve DI retention by 200 basis points                    In Design*
       Ul/UX Hit List of Player Facing
                                                         that will improve the overall usability of the mobile game   Improve D14 retention by 150 basis points
       Improvements                                                                                                   Improve D30 retention by 100 basis points


       *   Pending review and approval from Jason West




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                                                                                                                                                                           EXHIBIT 10521-026
                                         Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 27 of 50




rEpiGames -
          AOvervie"Wlll


 What it is: The Fortnite Installer adapted and rebranded as the Epic Games App, with the goal of becoming the Epic Games
 Store on Mobile and hosting multiple third-party mobile games


 Distribution: App is currently available for download via APK at EpicGamescom and preinstalls on select mobile devices
 through OEM partnership agreements


 Challenges: Awareness, availability, install flow, understanding of what it is, limited content offering, differing game package
 sizes, product ownership, existing OEM agreements and established terms




                          Fortnite                                 Epic Games
                          Installer                                    App



      Installer                                                       EPIC
                                                                      GAMES
       phase




      Used to
    download...

                              Fortnite                  Fortnite   Battle Breakers    Spyjinx
                               (2018)                   (2018)         (2019)         (2020)




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                                                                                                                                    EXHIBIT 10521-027
                                   Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 28 of 50




Fortnite by Platform: Q4 Installs, DAU, Revenue


Mobile (iOS in particular) is a big source of new players but DAU and revenue trails all other platforms



          Q4 Downloads, Average DAU and Revenue by Platform
                                                       399.5M
                                                     9.6M
                                                                                                                    $400.OM




                                                                                                                              In Q4 Mobile accounted for:
           7.5M   i6.SM                                                                                             $300.OM      • 40.3% of new to network
                                                                                                                                     downloads of Fortnite
                                             I                         $2 12.9M
                                                                                                                                •   13.8%ofMAU
           5.OM                                                                                                     $200.OM     •   9.9%ofDAU




                                                                      iill Iii
                                                                      4.2M
                                                                                                                                •   7.1% of Revenue
                                                                3.1                                    2.OM
                                  2SM                                              241   $'1O3.4M   2.5M
                           Q2M
           2.5M                                                                                                     $100.OM
                           j27M




                             I
                                                                it                                            5.0
                                  F      M1
                                         6

                                  Android            PS4              XB1           Switch             PC
                                            -I
                                  R Downloads (04)     U Average DAU (04)         I Revenue (04)




 HIGHLY CONFIDENTIAL   -   ATTORNEYS' EYES ONLY                                                                                       EPIC_GOOGLE_05085023

                                                                                                                                       EXHIBIT 10521-028
                                  Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 29 of 50




    Speaker Notes for Slide 22


    Raw Data:
    https://docs.google.com/spreadsheets/d/1 XrxOAvx7Wh bgOlq h5sDBof_goAPxOZOhZ4F_vYo2XDO/edit?usp=sharing




HIGHLY CONFIDENTIAL   -   ATTORNEYS' EYES ONLY                                                         EPIC_GOOGLE_05085024

                                                                                                       EXHIBIT 10521-029
                                     Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 30 of 50




Fortnite by Platform: 2020 to Date Installs, DAU, Revenue

Mobile continues to drive 40% of New to Network installs in 2020, while contributing 7% of revenue




                 Downloads and Avg. DAU (2020 To Date)                                 Gross Revenue (2020 to Date)
   12,000,000                                                       $250,000,000




                                                                                                     I
   10,000,000
                                                                    $200,000,000
    8,000,000

                                                                    5250,000,000
    6,000,000




                  II I- Iii II II
                                                                                                     I
   4,000,000
                                                                    $200,000,000




                                                                                                                      II
    2,000,000
                                                                     550,000,000
            0
                   lOS   Android    P54       Xbox   Swi
                                                       tch   PC
                                                                              so   0
                              pDownbas    •AvgOAU                                  lOS     Android   P54   Xbox   Switch   PC




      .         Mobile revenue currently tracking at 10% ahead of plan for 2020




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                                                                                                                       EXHIBIT 10521-030
                                         Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 31 of 50




rF      fl i Mobile Performance Overview                                                    I




                                                                Gross Revenue
                   Platform               Downloads (LTD)"                            D7(Q4 Avg) 1 W MAU (Q4 Avg
                                                                    (LTD)

              Mobile                            105M                $659M                 2.6M                9.8M

                       iOS                      85M                  $614M                2.2M                T7M

                       Android                  20M                    $45M               400K                2.1M

              Console (XBOX,
                                                140M                $8.2913               20.7M               52.2M
              PS4, Switch)

              PC                                77M                 $1.0713               2.9M                 9M

              Totals                            322M                $1O.02B               26.2M               71M


                •      Mobile represents the following of the totals
                         o   33% of downloads
                         o   13.80% of MAU
                         o   9.92% of DAU
                         o   6.58% of revenue




     HIGHLY CONFIDENTIAL     -   ATTORNEYS' EYES ONLY                                                               EPIC_GOOGLE_05085026

                                                                                                                     EXHIBIT 10521-031
                                         Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 32 of 50




rF      fl i Mobile Performance Overview                                                    I




            rPlatform               ir    Downloads (Q4)
                                                                      ;Revenue
                                                                      (Q4)     7V DAU (Q4 Avg)            MAU (Q4 Avg


              Mobile                            9.3M                $61.5M                2.6M                9.8M

                       iOS                      6.8M                $52.7M                2.2M                T7M

                       Android                  2.5M                 $8.6M                400K                2.1M

              Console(XBOX,
                                               11.3M                 $717M                20.7M               52.2M
              PS4, Switch)

              PC                                2.5M                 $85M                 2.9M                 9M

              Totals                           23.
                                                 1116               $8635M                262M                71M



                   •   In Q4 Mobile accounted for:
                          o  40.3% of new to network downloads of Fortnite
                          o   13.8%ofMAU
                          o   9.9%ofDAU
                          o   7.1% of Revenue




     HIGHLY CONFIDENTIAL     -   ATTORNEYS' EYES ONLY                                                               EPIC_GOOGLE_05085027

                                                                                                                     EXHIBIT 10521-032
                                                  Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 33 of 50




Mobile Partnerships: Android

Current OEM Partnerships Scorecard

  Manufacturer
                                                       Samsung                                        Huawei                           Sony                            LG                Totals

  Start date                                           August 9, 2018                             January 22, 2019                  March 1, 2019                  April 1, 2019


  Contract Length                                        Three years                          One year (contract expired)             Two years                      One year


  Preinstall                                                                                                                                                   Preinstall on +1 screen
                               App stub in Game Launcher on Galaxy Note 9, S1 0, Note         Preinstall on +1 screen and     Preinstall on +1 screen, in
                                                                                                                                                                and in app tray on LG
                       -




  Agreements                              10, linking to Galaxy Store install flow               in app tray on HONOR            app tray and available
                                                                                                                                                                  V50 Dual Screen
                                Preinstall on designated Unlocked Galaxy S1O Series in         View20 and HONOR 20 /          within Game Enhancer on
                                                                                                                                                        Global)) (Korea +
                           -




                                                           Europe                                    20 Pro devices             all Xperia I& 5devices
                                                                                                                                                                        devices


  Preinstall                                                                                    Contractual obligation:             Verbal Target:                Verbal Target:
  Commitments                           No contractual commitment from Samsung                                                                                                             9M
                                                                                                    5M Preinstalls                  3M Preinstalls                IM Preinstalls


  Preinstall                        19,095,546 "App Stub Installs" (in Game Launcher)
                                                                                                         234K                             1M                           600K               30.9M
  Results to date                          1O "Preinstalls" (Galaxy S1 EU)


  App Portal                        Fortnite Installer available within Galaxy Store on all    Fortnite Installer available
                                                                                                                                         N/A                            N/A
  Agreements                                           supported devices                      within Huawei App Gallery


  App Portal Install
                                                             16M                                          2M                             N/A                            N/A               18M
  Results to date


  Outfit Redemption
                                                             4M                                          108K                            N/A                            N/A               4AM
  Results


  Revenue Split                                          FN: 88/12                                     FN: 100/0                      FN: 100/0                      FN: 100/0
                                                        Non-FN: 95/5




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                                                                                                                                                                      EXHIBIT 10521-033
                                   Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 34 of 50




Mobile Partnerships: Android


   Partnership Terms

    Technical Requirements to work with Epic Games moving forward...




      Preinstall Placement                          -    Epic Games app availability on all new devices


                                                         Capacity to reach all "legacy" devices with post-install via over the air
      OTA updates
                                                    -




                                                         software updates


      Deep linking                                  -    Ability to deep link to optimized flow, not sideload flow


                                                    -    Removal of:
      Whitelisting ISystem Privilege                       -  APK damaging device prompt
                                                           -  Sources unknown


      DCB Integration (Carriers)                    -    API integration under Epic approved DCB merchant of record




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                                                                                                                     EXHIBIT 10521-034
                                     Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 35 of 50




Mobile Partnerships: Android


 Additional strategic OEM partnerships (if technical requirements are met)



 Targeted 2020
                     Samsung          Huawei             Sony           Xiaomi    OnePlus         LG             Vivo         Lenovo           OPPO           Total
 OEM Partners




                          In           On Hold             In            Made      In Draft       In               In           Made              In
 Status
                       Contract                         Contract        Contact     Phase      Contract       Conversation     contact       Conversation




                           3Years       1Year           2Years                                  1Year
 Terms               (Ending Aug 8   (Ended Dec 31,   (Ending Feb 28,    N/A        N/A       (Ending March       N/A            N/A             N/A
                         2021)           2019)             2021)                                '30, 2020)




 Meets required
                            Yes           No               No             No        Yes           No             TBD             TBD             TBD
 technical terms
                                                                                                                                                                --




 Total Supported
 (Fortnite) Device
                            56%          22%               4%            4%         3.1%         2.8%            1.4%           1.1%             TBD          94.4%
 Market Share
 (excl. Chin a)*



                                                                                                                         *B ase don IDC sales data from Q3/2015-Q2/2019




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                                                                                                                                          EXHIBIT 10521-035
                                      Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 36 of 50




Mobile Partnerships: Android


  DCB + Carrier Partnerships Pilot Program


    Telecom Group                                         Hutchison                     Telefonica                     Verizon


                                                                Three                               02
    Carriers                                                                                                            Verizon
                                                               -                                -




                                                           -   Wind Tre                    -   Movistar


                                                        Phase 1: UK, Italy
                                                                                       Phase 1: Spain,
    Countries                                  Phase 2: Sweden, Denmark, Ireland,                                          USA
                                                                                    Phase 2: Germany, UK
                                                            Austria



    Opportunity (total Android users on
                                                                   34M                          40M                        47M
    networks in established DCB markets)




    Commercial Terms
                                                        (+Up to 3% in bad debt)        (+Up to 3% in bad debt)     (+Up to 3% in bad debt)




    Co-Marketing (IP usage, events,
                                                                   YES                          YES                        YES
    promotions)




    Target Partnership Announcement Date                 Q2 Timeframe                   Q2 Timeframe             September Timeframe




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                                                                                                                     EXHIBIT 10521-036
                                           Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 37 of 50




Mobile Partnerships: Android

Current status of Huawei partnership

  Standing Huawei restrictions have not changed. Huawei remains subject to export restrictions. In 2019, Epic filed an application with the US
  Department of Commerce requesting permission to resume certain collaboration with Huawei relating to Android-OS mobile phones. Commerce
  has not yet responded with a decision regarding whether to grant or deny Epic's application. There is no current timeline for this for this response.


  Current business terms:




       •    Discuss or provide access to technical info, technical support, or technical instructions
                o     Examples of things Epic CANNOT discuss/provide: performance metrics; product specifications; hardware/software testing feedback; fraud prevention
                      software solutions
                o     Exception: Epic can repeat technical info that is already publicly available on the internet free-of-charge (e.g., facts posted on Epic's public FN FAQ site)
       •    Provide versions of software that are not publicly downloadable free of charge
                o     Examples of things Epic CANNOT provide: sending Huawei aversion of the Installer APK that is not identical to aversion available online for free download
                      by the public
                o     Examples of things Epic CAN provide: Installer APK version downloadable for free from Epic's website; Unreal Engine version downloadable for free from
                      GitHub
       •    Provide other electronic materials that contain non-public technical info, technical support, or technical instructions (similar to first bullet above)
       •    Provide or return physical materials to Huawei
                a     Examples of things Epic CANNOT provide: Huawei test handsets; flash drives


  Epi c
      — CAN (Iéthédiscussions cross into one of the catéóriéábövé)



       •    Discuss general business terms of promotions
                a     Examples of things Epic CAN discuss: desired pre-install numbers; device-exclusive FN skins
       •    Discuss promotional materials
                a     Examples of things Epic CAN discuss: art; ads
       •    Repeat or direct Huawei to the location of technical info that is already publicly available on the internet free-of-charge




 HIGHLY CONFIDENTIAL       -   ATTORNEYS' EYES ONLY                                                                                                                   EPIC_GOOGLE_05085032

                                                                                                                                                                      EXHIBIT 10521-037
                                    Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 38 of 50




                              Revenue by First Seen Platform %
                              Lapsed: All
                              From Ad:All
                              First Seen Platform: PS4, XBOXONE, SWITCH and 3more
                              Platform Purchased:PS4, XBOXONE, SWITCH and 3more

                                                                      Platform Purchased
                              First Seen Pla,.      P54     XBOXONE   SWITCH      PC       lOS     ANDROID
                              PS4                   94.2%      0.9%   V 0.5% V     2.O%V    2.1% 'V0.4%
                              XBOXONE            [ 1.6%       93.8%      0.5%      1.8%     2.1%      0.3%
                              SWITCH                 4.4%      4.2%     87.7%      1.6%     1.8%      0.2%
                              'OS                   24.1%     16.4%      3.8%      6.8%    48.5%      0.5%
                              PC                    10,3%      6.8%      2.1%     742%      5.2%      1.4%
                              ANDROID            IL 34.8%     18.9%      4.8%     14.6%     5.3%     2t6%
                              Grand Total           47.4%     25.9%     10.3%      9.0%     6.6%      0.7%




HIGHLY CONFIDENTIAL   -   ATTORNEYS' EYES ONLY                                                               EPIC_GOOGLE_05085033

                                                                                                             EXHIBIT 10521-038
                                  Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 39 of 50




    Speaker Notes for Slide 31


    http://tableau .epicqames. net/#/site/SensitiveDatalviews/CRPlandFirstSeenViews/RevenuebyFirstSeenPlatforml?:iid=3




HIGHLY CONFIDENTIAL   -   ATTORNEYS' EYES ONLY                                                         EPIC_GOOGLE_05085034

                                                                                                       EXHIBIT 10521-039
                                      Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 40 of 50




Android Discoverability


 Despite lower mm-spec, Epic Games App distribution is still significantly lower than competitors



                             Android Installs LTD
                             300CM




                             200 -
                                 OM




                             100CM




                               0CM
                                      Epic Games App   Fortnite   PUBGM      CODM       Roblox    Brawl Stars




  HIGHLY CONFIDENTIAL   -   ATTORNEYS' EYES ONLY                                                                EPIC_GOOGLE_05085035

                                                                                                                EXHIBIT 10521-040
                                     Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 41 of 50




Mobile Competitors            -   2019 Revenue

  Fortnite revenue vs. the competition



                                        2019 Revenue

                                        $4OOOM




                                        $300.OM




                                        $200.OM




                                        $100.OM




                                         $O.OM
                                                    Fortnite   PUBGM   CODM   Brawl Stars   Roblox   Minecraft   Free Fire



                                      iOS and Android



SOURCE: Fortnite actuals; Comps from App Annie, excluding regional SKUs (ex: PUBGM Japan) and any data from China in non-regional SKUs




  HIGHLY CONFIDENTIAL   -   ATTORNEYS' EYES ONLY                                                                             EPIC_GOOGLE_05085036

                                                                                                                             EXHIBIT 10521-041
                                  Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 42 of 50




    Speaker Notes for Slide 33


    Raw data:
    https:IIdocs.google.comlspreadsheetsldli Hi gPEiMd6thqS4LEbyFDCPRU IGyptoQNNfQWZcZg68kIedit?usp=sharing




HIGHLY CONFIDENTIAL   -   ATTORNEYS' EYES ONLY                                                         EPIC_GOOGLE_05085037

                                                                                                       EXHIBIT 10521-042
                                        Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 43 of 50




Mobile Competitors            -   2019 Revenue

Despite best in class iOS revenue, Fortnite's Android revenue trails key comps



                        Revenue by Platform
                        $300.OM


                                        r—




                            $O.OM   -
                                        I
                                        l Ull


                                        I
                                         Fortnite I PUBGM
                                         -   -   -

                                                     •
                                                             UI
                                                              CODM
                                                                           ii I I
                                                                                i
                                                                      Brawl Stars

                                                         Android Revenue
                                                                                    Roblox

                                                                           • iOS Revenue
                                                                                             al
                                                                                             Minecraft   Free Fire




                      Caveat: CODM launched late Sept 2019

SOURCE: Fortnite actuals; Comps from App Annie, excluding regional SKUs (ex: PUBGM Japan) and any data from China in non-regional SKUs




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                                  Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 44 of 50




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                                     Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 45 of 50




Mobile Competitors            -   2019 MAU

 Fortnite's MAU is lower than the competition primarily due to Android

    Dec MAU by Platform:
  r                                           iOS                   Android                  Total                  % Android
   Fortnite                                         11.IM                                                                                    I
                                                                                                                                             J
   PUBGM                                            1O.7M                    86.3M                 97.1M                             89 %I

   CODM                              000V•208M                               48.3M                 69.IM                             7O%
   Brawl Stars                                      1O.8M                    27.IM                 37.9M                             72%
   Roblox                                           14.OM                    19.3M                 333M
   Minecraft                          I               8.6M                   23.IM                 31.7M                             73%
  'Free Fire                                          1.4M                   18.2M                  19.6M                            93%




SOURCE: Fortnite actuals; Comps from App Annie, excluding regional SKUs (ex: PUBGM Japan) and any data from China in non-regional SKUs




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                                  Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 46 of 50




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                                        Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 47 of 50




Mobile Competitors               -    2019 MAU

 Fortnite's lower Android revenue is afunction of FN Android MAU being significantly below comps



Monthly Active Users: iOS + Android Total
                                                                                             -   -    -            Dec MAU by Platform:
125OM                                                                                        I- Fortnite I
                                                                                             -   PUBGM                                 i0S     Android   Total   %Android
100.0M                                                                                                         -       -       -   1
                                                                                             -   CODM          IFortnite               hiM               14.4M
                                                                                                                   -       -       -




                                                                                                 Brawl Stars
                                                                                                               PUBGM                                                  89%"
                                                                                             -


 75.OM                                                                                                                                 10.7M     86.3M   97.1M
                                                                                             -   Roblox
                                                                                                               CODM                    20.8M     483M    69.1M        70%
                                                                                             -   Minecraft
 50.OM
                                                                                                               Brawl Stars             10.8M     27.1M   37.9M        72%
                                                                                             -   Free Fire
                                                                                                               Roblox                  14.OM     19.3M   33.3M
                                                                                   C


 25.OM
                                                                                                               Minecraft                8.6M     23.iM   31.7M        73%
  O.OM                                                                                                         Free Fire                1.4M     18.2M   19.6M
         Jan   Feb   Mar        Apr    May   Jun   July   Aug   Sept   Oct   Nov       Dec




   •     Fortnite has leveled off to around 14M MAU in 2019
   •     Roblox and Minecraft increased their MAU trends in Q3 and Q4
   •     CODM launch saw high engagement, closing the year at 69.IM MAU
   •     PUBGM and CODM MAU was significantly higher than comps due to Android (89% and 70% respectively)



SOURCE: Fortnite actuals; Comps from App Annie, excluding regional SKUs (ex: PUBGM Japan) and any data from China in non-regional SKUs




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                                  Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 48 of 50




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                                    Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 49 of 50




MobiIeCompetitors2O19 Dec MAU by Region

84% of PUBGM's Android MAU comes from emerging markets, while still outperforming FN in established geos like the US

            iOS MAU                                                 Android MAU
                                                                                                                       % MAU by Continent
                                                                                                                                  FNM           PUBGM

                                                                                                                      EU                30%         10%

                                                                                                                      NA                50%             4%
Fortn ite                                                                                                             SA                 4%             2%
Mobile
                                                                                                                      AS                12%         71%

                                                                                                                      OCE                3%             0%

                                                                                                                      AF                            13%



                                                                                                                       Android MAU
                                                                                                                                  FNM           PUBGM        1

                                                                                                                      US                0.6M'       1.3M
PUBG
                                                                                                                                        0.1M'      32.0M
Mobile                                                                                                                India

                                                                                                                      Pakistan          O.OM t     14.5M
                                                                                                                                             +
                                                                                                                      Egypt             0.OM       107M
                                                                                                                                             +
                                                                                                                      Indonesia         0.OM        7.0M
                                                                                                                                             +
                                                                                                                      Russia            01M         t6M

                                                                                                                      Germany           0.2M        0.2M
                                                                0   -   -   ________   31.968.34




SOURCE: Fortnite actuals; Comps from App Annie, excluding regional SKUs (ex: PUBGM Japan) and any data from China in non-regional SKUs




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                                  Case 3:21-md-02981-JD Document 888-75 Filed 12/21/23 Page 50 of 50




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